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                                                  U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      February 18, 2025

BY ECF AND EMAIL

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

        The Government respectfully writes with respect to comments made by defendant Charlie
Javice’s counsel to the media on the eve of trial. In an article published yesterday—the day before
jury selection begins today—Javice’s lead trial counsel made the following statements to the
Financial Times:

       Do a Google search and focus on the July 2021 timeframe and I think you’ll find
       about two dozen articles of all kinds about Frank and Charlie talking about her
       signed-up users in the several hundred of thousands. It was out there in public.

Ex A. This statement was improper and in violation of S.D.N.Y. Local Criminal Rule 23.1 (Free
Press-Fair Trial Directives). 1 Counsel for defendant Olivier Amar properly did not comment to
the Financial Times.

        Counsel for Javice’s comments improperly invite potential jurors to conduct their own
inquiry into factual matters well beyond the scope of admissible evidence. Defense counsel even
instructs potential jurors as to how exactly they should do so (“Do a Google search”). Defense
counsel’s comments also suggest that JPMC was negligent in failing to uncover the true number



1
  The Rule provides that “[d]uring a jury trial of any criminal matter, including the period of
selection of the jury, no lawyer or law firm associated with the prosecution or defense shall give
or authorize any extrajudicial statement or interview relating to the trial, the parties, or issues in
the trial that a reasonable person would expect to be disseminated by means of public
communication if there is a substantial likelihood that the dissemination will interfere with a fair
trial; but the lawyer or the law firm may quote from or refer without comment to public records of
the court in the case.”
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of Frank users (“It was out there in public.”). The purported negligence of a victim is irrelevant
and should certainly not be the subject of public comment by counsel on the eve of jury selection. 2

       Accordingly, the Government respectfully requests that the Court (1) bar defense counsel
from making statements in their opening statements of the type that Javice’s counsel made to the
media yesterday, and (2) direct Javice’s counsel to abide by S.D.N.Y. Local Criminal Rule 23.1.


                                              Respectfully submitted,

                                              MATTHEW PODOLSKY
                                              Acting United States Attorney


                                      By:     ____/s/_____________________
                                              Rushmi Bhaskaran
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2
 It is irrelevant “if the person to whom a false material representation should have known better
or was negligent in believing what was said or not discovering what was said.” United States v.
Hwang, 22 Cr. 240 (AKH), Trial Tr. 5375 (Jury Charge) (S.D.N.Y. July 9, 2024).
